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                             1
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                             5

                             6    Attorney for Defendant 10616 Pico, LLC
                             7
                                                        UNITED STATES DISTRICT COURT
                             8
                                                       CENTRAL DISTRICT OF CALIFORNIA
                             9

                           10
                                  James Shayler,
                                                                                    Case No. 2:21-cv-00166-VAP-AGR
                           11
                                                                    Plaintiff,      DECLARATION OF AMER
                           12                                                       NACKOUD IN SUPPORT OF
                                                v.                                  DEFENDANT’S REQUEST TO
                           13                                                       SUBMIT SUPPLEMENTAL
                              10616 Pico, LLC, a California                         MATERIAL IN RESPONSE TO
                           14 Limited Liability Company; and                        PLAINTIFF’S MOTION FOR
                              DOES 1-10,                                            DEFAULT JUDGMENT
                           15                                                       (DOC. 16)
                                                                Defendants.
                           16

                           17
                                         I, Amer Nackoud, declare:
                           18
                                         1.     All the statements contained herein are made and based on my
                           19
                                  personal knowledge and if called as a witness I could and would testify
                           20
                                  competently thereto.
                           21
                                         2.     I am the owner and operator of the market located at 4803
                           22
                                  Melrose Ave., Los Angeles, CA 90029, Melrose Liquor Market.
                           23
                                         3.     I understand that the market is the subject of a lawsuit filed in
                           24
                                  the Los Angeles Superior Court, James Shayler v. Melrose Herman-
                           25
                                  Frankel, LLC, Los Angeles Superior Court Case No. 21STCV27674.
                           26

                           27

                           28
Stephen E. Abraham
____                       ____
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                                        NACKOUD DECL ISO DEFENDANT’S REQUEST TO SUBMIT SUPPLEMENTAL MATERIAL
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                             1
                                        4.    In the ordinary course of operating my business, I maintain a
                             2
                                  security camera system that includes interior and exterior cameras and a
                             3
                                  recording system that is accessible remotely.
                             4
                                        5.    The date and time stampings on recordings accurately reflect
                             5
                                  the date and time reflected in the video.
                             6
                                        6.    On August 12, 2021, I was requested to provide remote access to
                             7
                                  the system for review of security video from July 14, 2021. I provided access
                             8
                                  for that limited purpose.
                             9
                                        7.    I recognize the screenshots at Exhibits 1 through 3 as being
                           10
                                  from video of the market from July 14, 2021.
                           11

                           12
                                        I declare under penalty of perjury under the laws of the United States
                           13
                                  of America that the foregoing is true and correct and that this declaration is
                           14
                                  executed on August _____, 2021 at ______________, California.
                           15

                           16

                           17
                                                                              Amer Nackoud
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Stephen E. Abraham
____                       ____
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